3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/09/22   Entry Number 368-4   Page 1 of 8




                            EXHIBIT D

       Excerpts from the August 15, 2022 Deposition of Dr. Fifield
3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/09/22   Entry Number 368-4   Page 2 of 8




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
                             COLUMBIA DIVISION
                CIVIL ACTION NO. 3:21-cv-03302-JMC-TJH-RMG


      THE SOUTH CAROLINA STATE         )
      CONFERENCE OF THE NAACP,         )
                                       )
      and                              )
                                       )
      TAIWAN SCOTT, on behalf of       )
      himself and all other similarly )               VIDEO CONFERENCE
      situated persons,                )                 DEPOSITION
                        Plaintiffs,    )
           v.                          )                      OF
                                       )
      HENRY D. MCMASTER, in his        )          BENJAMIN HABER FIFIELD
      official capacity as Governor    )
      of South Carolina; THOMAS C.     )
      ALEXANDER, in his official       )
      capacity as President of the     )
      Senate; LUKE A. RANKIN, in his   )
      official capacity as Chairman    )
      of the Senate Judiciary          )
      Committee; JAMES H. LUCAS, in    )
      his official capacity as Speaker )
      of the House of Representatives; )
      CHRIS MURPHY, in his official    )
      capacity as Chairman of the      )
      House of Representatives         )
      Judiciary Committee; WALLACE     )
      H. JORDAN, in his official       )
      capacity as Chairman of the      )
      House of Representatives         )
      Elections Law Subcommittee;      )
      HOWARD KNAPP, in his official    )
      capacity as interim Executive    )
      Director of the South Carolina   )
      State Election Commission; JOHN )
      WELLS, Chair, JOANNE DAY,        )
      CLIFFORD J. EDLER, LINDA MCCALL, )
      and SCOTT MOSELEY, in their      )
      official capacities as members   )
      of the South Carolina Election   )
      Commission,                      )
                                       )
                        Defendants.    )
      _________________________________)
3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/09/22   Entry Number 368-4   Page 3 of 8




            Pursuant to Rule 30 of the Federal Rules of Civil

      Procedure, the within cross-noticed deposition of Benjamin

      Haber Fifield was taken by Counsel for Defendants James H.

      Lucas, Chris Murphy, and Wallace H. Jordan, cross-noticed by

      Plaintiffs’ Counsel, at the hour of 10:02 a.m. on Monday,

      August 15, via Zoom, with the witness located in Brookline,

      Massachusetts, attended by counsel as follows:




                                TIMMI A. PARRISH
                               VERBATIM REPORTER




                WHITWORTH COURT REPORTING
                              POST OFFICE BOX 551
                             ROEBUCK, S.C. 29376
                                  864-494-2705
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/09/22   Entry Number 368-4   Page 4 of 8




                                                                                  46

  1                      Objection; First Amendment.         You can answer at

  2              a high level.

  3         WITNESS ANSWERS:

  4         A.   Yes, I do know what Ms. Sanchez’s role was.

  5         EXAMINATION RESUMED BY MR. PARENTE:

  6         Q.   Okay.      And at a high level, what’s your

  7              understanding of her role?

  8         A.   She -- she also assisted the legal team in various

  9              technical questions.

 10         Q.   Okay.      Are you still in touch with Ms. Sanchez?

 11         A.   I am.

 12         Q.   Okay.      All right.    So -– all right.      So, you

 13              mentioned that you directly reported to Brooke and

 14              Brooke is not an attorney.           Was -- was any of your

 15              work directed by attorneys?

 16         A.   Yes.

 17         Q.   Okay.      Was the entirety of what you did at the ACLU

 18              directed by attorneys?

 19         A.   No.

 20         Q.   Okay.      And just for the record, you are not an

 21              attorney; is that correct?

 22         A.   I am not an attorney.

 23         Q.   All right.      And you’re no longer at the ACLU now, is

 24              that right?

 25         A.   I’m no longer at the ACLU.
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/09/22   Entry Number 368-4   Page 5 of 8




                                                                                  88

  1         A.   I think I might have been frozen as well.              I’m

  2              sorry.     Could you repeat the question that I was

  3              potentially frozen for?

  4         Q.   Yes.     Were you involved in the drafting of this

  5              report?

  6         A.   Could you just define drafting for me briefly?

  7         Q.   Yeah.      Did you write any of the words that ended up

  8              in this report?

  9         A.   I don’t recall.

 10         Q.   Were you involved in sending data to Dr. Imai for

 11              this report?

 12         A.   Yes.

 13         Q.   Okay.      Are you aware that both the articles that we

 14              spoke about earlier are cited in this report?

 15         A.   I was not aware of that.

 16         Q.   Okay.      So, you said you did provide data to Dr. Imai

 17              for this report.       Do you recall what kind of data

 18              you provided to Dr. Imai?

 19         A.   Yes.

 20         Q.   Okay.      And what kind of data was that?

 21         A.   It was demographic and electoral data.

 22         Q.   And where did you get that data from?

 23         A.   Could you clarify the question?            Do you mean where

 24              did I get the data that I provided to him directly

 25              or raw sources or...?
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/09/22   Entry Number 368-4   Page 6 of 8




                                                                                  134

  1         Q.   Okay.      Do you have a NAACP LDF email address?

  2         A.   I do not.

  3         Q.   Okay.      So this is on March 24th of this year.           It

  4              looks like you emailed Dr. Liu revised datasets are

  5              up on the sharepoint here.           Do you recall sending

  6              Dr. Liu data around March 24th?

  7         A.   I don’t recall the exact date, but probably around

  8              here.

  9         Q.   Okay.      The subject of this email says urgent

 10              request.     Do you recall what the urgent request was?

 11         A.   I don’t.

 12         Q.   Okay.      You also mention that you’re sending revised

 13              datasets.     Do you remember if there was an original

 14              dataset, also?

 15         A.   It’s hard to recall any one transfer of data, you

 16              know, so I don’t recall a particular exchange of an

 17              original dataset.

 18         Q.   Okay.      Do you know what datasets you were sending to

 19              Dr. Liu here?

 20         A.   Those were datasets for the analysis he conducted at

 21              the ask of counsel.

 22         Q.   Okay.      And do you know what analysis Dr. Liu

 23              conducted?

 24         A.   I can’t speak exactly to the (technical

 25              interruption).
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/09/22   Entry Number 368-4   Page 7 of 8




                                                                                141

  1              and another R package called SF.

  2         Q.   Okay.      Would you mind giving us just a quick

  3              description of each of those packages?

  4         A.   Sure.      Dplyr is a kind of almost universally used

  5              within the R programming community as a way of

  6              processing and summarizing and cleaning data.               And

  7              SF is a commonly used set of tools for processing

  8              and manipulating geographic data specifically.

  9         Q.   Okay.      And were you the only one involved in rolling

 10              up the data to the 2020 VTD level?

 11         A.   To the best of my knowledge, yes.

 12         Q.   Okay.      Do you know if Dr. Duchin would have verified

 13              any of the steps that you took in rolling up the

 14              data to the 2020 VDT level?

 15         A.   I can’t know for sure.

 16         Q.   Okay.      Did you provide Dr. Duchin with any -–

 17              directly with any raw data?

 18         A.   Could you define what you mean by raw data quickly?

 19         Q.   So, yeah.      By raw data I mean, you know, directly

 20              from the source.       So, before we were talking about,

 21              you know, downloaded data from the Census Bureau.

 22              Do you recall any instances of, you know, in that

 23              example, of sending data directly from the source to

 24              Dr. Duchin?

 25         A.   I can’t recall for sure.          I don’t believe so,
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/09/22   Entry Number 368-4   Page 8 of 8




                                                                                142

  1              though.

  2         Q.   Okay.      Do you believe that you sent any raw data

  3              directly to any of the other two experts that we

  4              mentioned, Dr. Imai and Dr. Liu?

  5         A.   I can’t recall specifically for either of them.

  6         Q.   Okay.      Do you believe that all of the data that you

  7              sent to the experts involved at least some level of

  8              processing?

  9         BY MR. JONES:

 10                      Objection; form.      You can answer.

 11         WITNESS ANSWERS:

 12         A.   You know, it’s very hard to account for at least

 13              some form.     I’m genuinely not sure.

 14         EXAMINATION RESUMED BY MR. PARENTE:

 15         Q.   Okay.      But you don’t recall any instances where you,

 16              for example, forwarded a dataset that came directly

 17              from the Census or the state to these experts; is

 18              that correct?

 19         A.   I don’t recall a specific instance of forwarding

 20              data like that.

 21         Q.   Okay.      All right.    And I think we’ve talked about

 22              these sources of data before, but just to double-

 23              check, incumbent addresses that you mentioned in the

 24              second line, that information came from the

 25              Redistricting Data Hub; is that correct?
